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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA



 ASSOCIATION OF AIR MEDICAL
 SERVICES,

                   Plaintiff,

            v.                                     No. 1:21-cv-03031-RJL

 U.S. DEPARTMENT OF HEALTH AND
 HUMAN SERVICES, et al.,

                   Defendants.


                    NOTICE OF WITHDRAWAL OF APPEARANCE

       Please take notice that Joel McElvain, U.S. Department of Justice, Civil Division, hereby

withdraws his appearance on behalf of the Defendants. The Defendants will continue to be

represented by their counsel of record, Anna L. Deffebach, U.S. Department of Justice, Civil

Division.

Dated: October 20, 2022                     Respectfully submitted,

                                            BRIAN M. BOYNTON
                                            Principal Deputy Assistant Attorney General

                                            ERIC B. BECKENHAUER
                                            Assistant Branch Director

                                            /s/ Joel McElvain
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                           Counsel for Defendants




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